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                       UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION



  UNITED STATES OF AMERICA                          Case No. 1:12-cr-98
                                                    Grand Rapids, MI
  -v-                                               July 2, 2015
                                                    3:14 p.m.
  PABLO RAZO FIERRO,
                                                    HON. ROBERT HOLMES BELL
              Defendant.
  ______________________/



                        INITIAL PRETRIAL CONFERENCE
                  (Testimony of Elizabeth Melgarejo Only)

                   BEFORE THE HONORABLE PHILLIP J. GREEN
                       UNITED STATES MAGISTRATE JUDGE



  APPEARANCES:

  For the Government:           Mr. Nils R. Kessler
                                United States Attorney's Office
                                The Law Building
                                330 Ionia Ave., NW
                                Grand Rapids, MI 49501-0208
                                (616) 456-2404


  For the Defendant:            Ms. Britt Morton Cobb
                                Willey & Chamberlain, LLP
                                940 Trust Building
                                40 Pearl Street, NW
                                Grand Rapids, MI 49503
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                                                                                    2
 1                                    I N D E X

 2

 3     WITNESSES - GOVERNMENT:                                               PAGE

 4     Not transcribed

 5

 6

 7

 8     WITNESSES - DEFENDANT:

 9     Elizabeth Melgarejo

10                 Direct examination by Ms. Cobb                              3

11                 Cross-examination by Mr. Kessler

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18     EXHIBITS                                                       MARKED

19     None

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                                                                                      3
 1                   Grand Rapids, Michigan

 2                   Thursday, July 2, 2015 - 3:14 p.m.

 3                   (Testimony of Elizabeth Melgarejo Only)

 4              Elizabeth Melgarejo, called by the Defendant, sworn

 5                               DIRECT EXAMINATION

 6     BY MS. COBB:

 7     Q      I'm     just going to ask you a few questions so that Judge

 8     Green can know a       little bit more about your dad.           This is not

 9     supposed to be hard but just let me know if you need a moment.

10     A      Okay.

11     Q      Is the his man your father, Pablo Fierro?

12     A      Yes, he is.

13     Q      Okay.     Are there any other family members in the courtroom?

14     A      My mom, my sister, and my nephew, and a family friend.

15     Q      Okay.     How many of your extended family live in Muskegon?

16     A      Me and my sister and our children.

17     Q      How many children are there together?

18     A      There's three of us, three daughters.

19     Q      Okay.     You know your dad went to Mexico because he was

20     afraid he was going to get prosecuted?

21     A      Yes.

22     Q      Were you happy about that?

23     A      No.

24     Q      Did you ask him to come home?

25     A      Yes.



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                                                                                       4
 1     Q       And did he eventually come home?

 2     A        Yes, he did.

 3     Q       And was that a decision the family made knowing that he

 4     could be arrested and have to deal with this case?

 5     A        Yes.

 6     Q       And that was something he decided to undertake knowing

 7     those risks?

 8     A        Yes.

 9     Q        When did he get back to Muskegon?

10     A        He got back a few days before my sister's birthday, it was

11     September of last year, 2014.

12     Q       Okay.     And do you own a restaurant?

13     A        I do.

14     Q       Will you tell Judge Green just the quick and dirty on the

15     name and where it's located and when it opened?

16     A        It's located --

17                         THE COURT:     You don't have to say a restaurant's

18     dirty.

19                         MS. COBB:     Yeah --

20                         THE WITNESS:      No, it's very clean.        Very clean.

21     It's Los Lagos, Mexican Bar and Grill.              We opened it in Twin

22     Lake.     I decided to open it on my dad's birthday, the 29th, just

23     so it's something memorable for me since he's always been in the

24     restaurant business, showed us, you know, work ethic, you know.

25                         And he helps me out since he's very well-known in



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                                                                       5
 1     the community, and the name Pablo means good food in Muskegon, so

 2     he helped me open a restaurant so I can, you know, give my

 3     daughter a good lifestyle like he gave us and gave us the values

 4     of work like I can give my daughter.

 5     BY MS. COBB:

 6     Q      Okay.    Is there another restaurant in Muskegon of a similar

 7     nature owned by another family member?

 8     A      Yup, we're a sister company so it's my sister's restaurant,

 9     La Casa Fierro.

10     Q      Okay.    And that was what Agent Brown was talking about a

11     few minutes ago?

12     A      Mm-hmm.

13     Q      And is your sister who owns the restaurant the sister

14     that's here?

15     A      Yes, she is.

16     Q      Okay.    So your dad has been helping you get this restaurant

17     off the ground?

18     A      Yes.

19     Q      Would you say that he has been pretty visible since he has

20     been back in Muskegon?

21     A      Yes, everybody knows that he's a part of this restaurant

22     and couldn’t wait for us to open especially with us having a

23     liquor license because it just brings more customers.                 They

24     couldn’t wait.

25     Q      Okay.     Is he kind of on the floor and greeting customers at



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                                                                                6
 1     these restaurants?

 2     A      Yes, he is, always.       Everybody always loves to go eat at

 3     the restaurants because they see Pablo.            Pablo is always out

 4     greeting customers, making sure everything's okay because he

 5     likes to treat them like family.

 6     Q      Okay.    Is your dad involved in any community organizations

 7     currently?

 8     A      Currently, well, he goes to church every Sunday.

 9     Q      Where does he go?

10     A      St. Mary's.

11     Q      In Muskegon?

12     A      In Muskegon.

13     Q      Okay.    Does he do any other community-minded --

14     A      He donates a lot.

15     Q      Okay.    Money, time, what do you --

16     A      Money and, you know, gives to charities, holds charities at

17     the restaurant like Toys for Tots and all of that, anything that

18     he can give back to the community.

19     Q      So were you aware back in 2011 that he was under

20     investigation for these crimes?

21     A      I found out, yes.

22     Q      Okay.    And over the years that he was gone did you, as

23     Agent Brown indicated, did you and your family try and ascertain

24     whether there were warrants, whether there was an active case?

25     A      Yeah, we have a lot of officers that work in the police



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                                                                               7
 1     department or in government that would look for us because they

 2     wanted to make sure that, you know, everything -- if there was a

 3     warrant, you know, or anything like that.

 4     Q      Were you ever aware until he got arrested the other day

 5     that this case had been filed?

 6     A      No, I did not know.

 7     Q      Is there anything I forgot to ask you -- that's probably

 8     the best question I've ever asked -- is there anything that I

 9     forgot to ask you that you think Judge Green should know about

10     your dad?

11     A      Well, I know that he left because his business partner

12     scared him and said that he had to leave because they were going

13     to give him 20 years and deport him and make him pay back, so his

14     business partner scared him and made him sign papers to sign

15     everything over to him.

16     Q      Okay.

17                       MS. COBB:     That's all I have.        Thank you.

18                       THE COURT:     Thank you, Ms. Cobb.

19                       Mr. Kessler?

20                       MR. KESSLER:      Just briefly, your Honor.

21                              CROSS-EXAMINATION

22     BY MR. KESSLER:

23     Q     Ms. Melgarejo, you said that you have some friends who are

24     police officers who were checking the warrants for you?

25     A      I do not personally but people who know my father.



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                                                                                    8
 1     Q      Who were the officers?

 2     A      Honestly, I can't tell you off the top of my head.

 3     Q      How do you know that that was happening?

 4     A      Because family friends who know these people also would

 5     check into the system.

 6     Q      Who are those people?

 7     A      Honestly, I don't know personally.            I know my sister, a

 8     couple of her waitresses have family            members that work in the

 9     police department and they would.

10     Q      Which police department?

11     A      Muskegon County.

12     Q      Muskegon County Sheriff's Office or Muskegon Police

13     Department?

14     A      I believe it's Sheriff's Department.

15     Q      You don't know the name of anybody who told you this?

16     A      No, I do not.      This is all through my sister also.

17     Q      Do you know an Officer Robert Woods?

18     A      No, I do not.

19     Q      Do you know an Officer Wasaleski(ph) of Norton Shores

20     Police Department?

21     A      Off the top of my head, no.          I know people by face.      Names,

22     I'm not good with names.

23     Q      Can you give us any clues on who it was that was running

24     background checks?

25     A      No, honestly, I do not know.



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                                                                                    9
 1     Q      Okay.

 2                       MR. KESSLER:      I don't have anything else, your

 3     Honor.

 4                       THE COURT:     All right.      Thank you, Mr. Kessler.

 5                       Any redirect, Ms. Cobb?

 6                              REDIRECT EXAMINATION

 7     BY MS. COBB:

 8     Q      I did forget to ask you one question.            Did you bring your

 9     dad's passport?      Is that the only passport you know that he has?

10     A        This is the only passport he has.

11     Q        Does it have any stamps in it?

12     A        Yes, it does.

13     Q      Are there any recent from his entry?

14     A        August 24, 2014, from Mexico.

15     Q      Is there anything from Chicago?

16     A        I tried to look and, no.

17     Q      I guess that doesn’t happen anymore but --

18     A        No, the last one was 2009.

19     Q      Okay.

20                       MS. COBB:     That's all I have.        Can I take one

21     second and ask another family member a question?

22                       THE COURT:     Yes, go ahead.

23                       THE WITNESS:      Can I get down?

24                       THE COURT:     You are excused, thank you.

25                       (At 3:22 p.m., witness excused)



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                                 CERTIFICATE



       I, Patricia R. Pritchard, CER 3752, Certified Electronic

Court Reporter for the State of Michigan, do hereby certify

that the foregoing pages, 1 - 10, inclusive, comprise a full,

true and correct transcript, to the best of my ability, of the

proceedings and testimony recorded in the above-entitled

cause.



November 11, 2015                      Patricia R. Pritchard /S/
                                    Patricia R. Pritchard, CER 3752
